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                       Annie Y. Stoops (SBN 286325)
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                   5                 annie.stoops@arentfox.com
                   6   Counsel for Interested Parties
                       Daniel Woods and Mike Hilberman
                   7

                   8                            UNITED STATES BANKRUPTCY COURT
                   9               NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE DIVISION
                10
                       In re:                                          Case No. 18-50398
                11
                                                                       Chapter: 7
                12     TECHSHOP, INC.,
                                                                       NOTICE OF APPEARANCE AND
                13                       Debtor.                       REQUEST FOR SPECIAL NOTICE

                14

                15

                16

                17
                                TO THE HONORABLE M. ELAINE HAMMOND, UNITED STATES
                18
                       BANKRUPTCY JUDGE, AND ALL INTERESTED PARTIES:
                19
                                PLEASE TAKE NOTICE that Annie Y. Stoops of the firm Arent Fox LLP hereby appears
                20
                       as counsel of record in the above-captioned case (the “Case”) pursuant to Rule 9010(b) of the
                21
                       Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”), on behalf of Daniel Woods and
                22
                       Mike Hilberman (“Movants”), with respect to the above-captioned debtor (the “Debtor”).
                23
                                PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Rules 2002, 9007 and
                24
                       9010 and Sections 102(1), 342 and 1109 (b) of Title 11 of the United States Code (the
                25
                       “Bankruptcy Code”), Movants hereby request that all notices given, or required to be given, and
                26
                       all papers served in this Case, be delivered and served upon Movants counsel at the following
                27
                       address:
                28
                       ///
A RENT F OX LLP
ATTORNEYS AT LAW
  LOS ANGELES
                  AFDOCS/17200640.1
            Case: 18-50398    Doc# 195             Filed: 11/05/18   Entered: 11/05/18 15:05:12      Page 1 of 2
                   1                                         Annie Y. Stoops, Esq.
                                                                 Arent Fox LLP
                   2                                     555 West 5th Street, 48th Floor
                   3                                        Los Angeles, CA 90013
                                                          Telephone: (213)629-7400
                   4                                       Facsimile: (213)629-7401
                                                       E-mail: annie.stoops@arentfox.com
                   5
                               PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the
                   6
                       notices and papers referred to in the Bankruptcy Rules specified above, but also includes, without
                   7
                       limitation, orders and notices of any applications, motion, petition, pleading, request, complaint
                   8
                       or demand, whether formal or informal, whether written or oral, and whether transmitted or
                   9
                       conveyed by mail, delivery, telephone, telegraph, telefax, facsimile transmission, email or
                10
                       otherwise, which affect the Debtor or property of the Debtor with respect to the above-mentioned
                11
                       matter, or any related entity, or property or proceeds in which the trustee may claim an interest.
                12
                               All of the above rights are expressly preserved unto this party without exception and with
                13
                       no purpose of confessing or conceding jurisdiction in any way by this filing or by any other
                14
                       participation in this matter.
                15

                16
                       Dated: November 5, 2018
                17                                                        Respectfully submitted,

                18                                                        ARENT FOX LLP

                19                                                        By: /s/ Annie Y. Stoops
                                                                             Annie Y. Stoops
                20                                                           Counsel for Interested Parties Daniel
                                                                             Woods and Mike Hilberman
                21

                22

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A RENT F OX LLP
ATTORNEYS AT LAW
  LOS ANGELES
                  AFDOCS/17200640.1
            Case: 18-50398    Doc# 195             Filed: 11/05/18    Entered: 11/05/18 15:05:12        Page 2 of 2
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